         Case 2:16-cv-00030-SEH Document 1 Filed 06/10/16 Page 1 of 8




Kiely Keane
Brett P. Clark
CROWLEY FLECK PLLP
900 N. Last Chance Gulch, Suite 200
P.O. Box 797
Helena, MT 59624-0797
Telephone: (406) 449-4165
kkeane@crowleyfleck.com
bclark@crowleyfleck.com

Charles K. Smith
CROWLEY FLECK PLLP
Thornton Building
65 East Broadway, Suite 400
Butte, MT 59701
Telephone: (406) 457-2057
cksmith<W.crowleyfleck.com

Attorneys for Peak Medical Montana Operations, LLC, d/b/a Butte Center


                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DIVISION OF MONT ANA
                           BUTTE DIVISION

GINA JAEGER, individually, AND AS   )     Cause No. CV- ll,-3o -BU-St+{
PERSONAL REPRESENTATIVE OF          )
THE ESTATE OF HER SISTER            )
CHARLENE HILL,                      )
                                    )    PEAK MEDICAL MONTANA
            Plaintiff,             )     OPERATIONS, LLC D/B/A
                                   )     BUTTE CENTER'S NOTICE OF
     vs.                           )     REMOVAL
                                   )
GENESIS HEAL THCARE, INC., d/b/a )
THE BUTTE CENTER, JOHN DOE         )
LLC's 1-10; JOHN DOE, INC.'S 1-10, )
                                   )
            Defendants.            )
           Case 2:16-cv-00030-SEH Document 1 Filed 06/10/16 Page 2 of 8




      PLEASE TAKE NOTICE that Defendant Peak Medical Montana

Operations, LLC, d/b/a Butte Center (hereinafter "PMMO"), incorrectly captioned

as Genesis Healthcare, Inc., d/b/a the Butte Center, hereby removes the above-

captioned action from the Montana Second Judicial District Court, Silver Bow

County, to the United States District Court for the District of Montana, Butte

Division, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. As explained in further

detail herein, the assumed name "Butte Center" is registered to PMMO with the

Montana Secretary of State, not Genesis Healthcare, Inc.

I.    DESCRIPTION OF ACTION AND PROCEDURAL BACKGROUND.

      I.     On or about April 25, 2016, Plaintiff Gina Jaeger ("Plaintiff')

commenced this action by filing a Complaint/Demand for Jury Trial ("Complaint")

in the Montana Second Judicial District, Silver Bow County.

      2.     Plaintiff served William Powell, Director of the skilled nursing

facility known as the Butte Center, with the Summons and Complaint. Ex. A. In

the Complaint, Plaintiff asserts the following causes of action: ( 1) Direct Corporate

Liability; (2) Vicarious Corporate Liability; (3) Liability of the Butte Center;

(4) [Untitled]; and (5) Constructive Fraud. The Complaint also includes

allegations of negligence, though none of her counts are labeled negligence.

      3.     PMMO has filed an Answer to the Complaint (Ex. B) and a Motion

for Substitution with proposed order (Ex. C).



                                          2
           Case 2:16-cv-00030-SEH Document 1 Filed 06/10/16 Page 3 of 8




      4.     Plaintiff Gina Jaeger is the sister and Personal Representative of the

Estate of Charlene Hill (hereinafter "the Estate"), who was a patient at the Butte

Center. Plaintiff's claims relate to care provided to Ms. Hill during her time at the

Butte Center.

      5.     PMMO is a limited liability company organized under the laws of the

State of Delaware. Ex. D, Delaware Division of Corporations Entity Details for

Peak Medical Montana Operations, LLC. Its sole member is Peak Medical, LLC, a

Delaware limited liability company. Ex. E, Limited Liability Company Operating

Agreement of Peak Medical Montana Operations, LLC (Feb. 2, 2015).

      6.     "Butte Center" is an assumed name registered with the Montana

Secretary of State for PMMO, not Genesis Healthcare, Inc., as Plaintiff's caption

indicates. Ex. F, Montana Secretary of State, Principal Information for "Butte

Center."

      7.     Genesis Healthcare, Inc., is incorporated in the State of Delaware.

Ex. G, Delaware Division of Corporations Entity Details for Genesis Healthcare,

Inc. Its principal place of business is located in the State of California. Plaintiff

has not served Genesis Healthcare, Inc., with process. Counsel for PMMO has

verified that Plaintiff only obtained one summons from the Silver Bow County

Clerk of Court, which was served on PMMO.




                                           3
             Case 2:16-cv-00030-SEH Document 1 Filed 06/10/16 Page 4 of 8




II.    PMMO HAS MET THE PROCEDURAL REQUIREMENTS FOR
       REMOVAL UNDER 28 U.S.C. § 1446.

       8.       PMMO was served with Plaintiff's Complaint by process server on

May 12, 2016. Accordingly, this Notice of Removal is being timely filed within

30 days of service of PMMO and within one year of the commencement of this

action in Montana state court. See 28 U.S.C. § 1446(b).

       9.       The Montana Second Judicial District Court, Silver Bow County, is

located within the District of Montana, Butte Division. Venue in the Butte

Division is proper under 28 U.S.C. § 106, 28 U.S.C. § 1441(a), L.R. 3.2, and Mont.

Code Ann.§ 25-2-122(2).

       10.      Counsel for PMMO verified on June 10, 2016, that the documents

attached are the only documents that have been filed in the Montana Second

Judicial District Court for this action. Thus, in accordance with 28 U.S.C.

§ 1446(a), all pleadings or orders that have been served on PMMO are included in

the exhibits.

       11.      Pursuant to 28 U.S.C. § 1446(d) and L.R. 3.2(a), a copy of this Notice

of Removal is being served upon counsel for Plaintiff and a copy is being filed

with the Clerk of Court for the Montana Second Judicial District Court, Silver Bow

County.

      12.       This court has original jurisdiction over Plaintiffs action under

28 U.S.C. § l332(a).


                                            4
             Case 2:16-cv-00030-SEH Document 1 Filed 06/10/16 Page 5 of 8




III.   REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT
       MATTER JURISDICTION PURSUANT TO 28 U.S.C. § 1332(a).

       13.    Subject matter jurisdiction under 28 U.S.C. § 1332(a) involves two

requirements: diversity of citizenship and an amount in controversy exceeding

$75,000.

       14.    Diversity of citizenship exists in this case. The Estate is informally

probated in the Montana Third Judicial District Court, Deer Lodge County. See

Ex. H, Letters of Appointment, In re Estate of Charlene Hill, Probate No. DP-

2015-36 (Dec. 9, 2015). Ms. Hill had been a resident of the City of Anaconda,

Deer Lodge County, Montana. Personal Representative of the Estate, Gina Jaeger,

resides at 812 W. Spring, Lewistown, Fergus County, Montana. Id. at 1. Both the

Estate and Ms. Jaeger are therefore domiciled in the State of Montana for diversity

jurisdiction purposes.

       15.    PMMO is a Delaware limited liability company. Its sole member is

Peak Medical, LLC, a limited liability company organized in the State of

Delaware. For the purpose of determining the domicile of a limited liability

company, the Ninth Circuit Court of Appeals has held, "[A]n LLC is a citizen of

every state of which its owners/members are citizens." Johnson v. Columbia

Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). PMMO is therefore a

citizen of the State of Delaware.




                                           5
            Case 2:16-cv-00030-SEH Document 1 Filed 06/10/16 Page 6 of 8




      16.    Accordingly, this action is between "citizens of different states."

28 U.S.C. § 1332(a)(l).

      17.    The amount in controversy requirement is also met in this case.

Plaintiff's Complaint does not contain a claim for a specific amount of damages.

Generally, "the amount stated in the complaint will determine the amount in

controversy" for jurisdiction under 28 U.S.C. § 1332(a). Rollwitz v. Burlington N.

R.R., 507 F. Supp. 582, 585 (D. Mont. 1981). However, where a plaintiff"has not

stated a claim for a specific amount of damages," the amount in controversy can be

established "from some sort of 'other paper."' Birkenbuel v. M C.C. Constr.

Corp., 962 F. Supp. 1305, 130 (D. Mont. 1997). Accordingly, the "amount-in-

controversy inquiry in the removal context is not confined to the face of the

complaint," but rather, also includes "facts presented in the removal petition as

well as any summary judgment-type evidence relevant to the amount in

controversy at the time of removal." Valdez v. Allstate Ins. Co., 372 F.3d 1115,

1117 (9th Cir. 2004) (quotation marks and citations omitted); see also Rollwitz,

507 F. Supp. at 585 (stating that federal courts have, among other things, looked to

the petition of removal or "made an independent appraisal of the monetary value of

the claim or suggested the defendant was free to do so" when the complaint did not

specify an amount of damages).




                                          6
            Case 2:16-cv-00030-SEH Document 1 Filed 06/10/16 Page 7 of 8




      18.    "Where the plaintiff does not demand a specific amount of damages,

the burden is on the removing defendant to show by a preponderance of the

evidence that the amount in controversy exceeds $75,000." Birkenbuel, 962 F.

Supp. at 1306. Thus, the defendant "must provide evidence establishing that it is

'more likely than not' that the amount in controversy exceeds [$75,000)." Sanchez

v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996). The amount in

controversy more likely than not exceeds $75,000 in this case.

      19.    Plaintiff seeks damages stemming from the death of Charlene Hill.

She seeks "[c)ompensation for all damages allowed under Montana law for

wrongful death and survivorship claims," as well as "punitive damages as

determined by the jury" and "Plaintiffs costs of suit." Complaint, Relief

Requested, at p. 7 (emphasis added). Montana has a statutory cap of$250,000 for

noneconomic damages in medical malpractice actions. Mont. Code Ann.

§ 25-9-411. Plaintiff's claim for "all damages allowed under Montana law"

implies an intention to seek at least $75,000, together with punitive damages.

      20.    Accordingly, Plaintiffs lawsuit meets the jurisdictional requirements

of28 U.S.C. § 1332(a) because there is diversity of citizenship between Plaintiff

and Defendant and the amount in controversy is over $75,000.




                                         7
         Case 2:16-cv-00030-SEH Document 1 Filed 06/10/16 Page 8 of 8




      WHEREFORE, PMMO respectfully removes this action from the Montana

Second Judicial District Court, Silver Bow County, to this Court pursuant to

28 U.S.C. §§ 1332, 1441, and 1446.

      Dated June 10, 2016.

                                      CROWLEY FLECK PLLP


                                      Isl Brett P. Clark
                                            Kiely Keane
                                            Brett P. Clark
                                            Charles K. Smith
                                            Attorneys for Peak Medical Montana
                                            Operations, LLC




                                       8
